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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

SHERRI STUART,

                              Plaintiff,
                                                                               6:17-cv-00065-JR
                       V.
                                                                                      JUDGMENT
CAPITAL ONE BANK,

                              Defendant.

       Pursuant to the parties’ Stipulation of Dismissal (ECF No. 11) this action is dismissed

with prejudice and with all parties to bear their own fees and costs.

       Dated this 14th day of August 2017.

                                                      Mary L. Moran, Clerk of Court

                                                      by: s/P. Bruch
                                                         Paul Bruch, Deputy Clerk
